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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
____________________________________
                                        )
NAVY SEALS 1-3, et al.                  )
                                        )
                        Plaintiffs,     )
                                        )
               v.                       )   Civil Action No. 4:21-cv-01236-O
                                        )
Lloyd J. Austin III, in his official    )
capacity as United States               )
Secretary of Defense, et al.,           )
                                        )
                        Defendants.     )
___________________________________ )

                                         JOINT REPORT

       On March 11, 2024, the Court issued an order requiring the parties to submit a joint

mediation report that informs the Court whether this case has been settled by agreement of the

parties. ECF No. 268. The parties attended mediation with Magistrate Judge Cureton on April 3,

2024 and have had additional conversations both with Judge Cureton and amongst themselves

since then. The case has not settled but the parties are continuing the conversation. Thus, the parties

respectfully request one further two-week stay to facilitate continuing negotiations.



Dated: April 10, 2024                          Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       I certify that on April 10, 2024, this document was served through the Court’s CM/ECF

Document Filing System upon all counsel of record.

                                                     /s/ Heather Gebelin Hacker
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